      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 1 of 11 Page ID #:1



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7

8
                     IN THE UNITED STATES DISTRICT COURT
9

10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
11

12

13   Rachel Yates,                             Case No.: 2:21-cv-6205
14                Plaintiff,
15                                             COMPLAINT FOR PATENT
     vs.                                       INFRINGEMENT;
16

17   PetSmart LLC,                             DEMAND FOR JURY TRIAL
18                Defendant.
19

20

21                   COMPLAINT FOR PATENT INFRINGEMENT
22
           Plaintiff Rachel Yates, by and through her attorneys, files this Complaint
23

24
     for Patent Infringement and Demand for Jury Trial against PetSmart LLC.

25   (“Defendant” or “PetSmart”) and alleges as follows:
26

27

28                               -1-
     COMPLAINT FOR PATENT INFRINGEMENT                     CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 2 of 11 Page ID #:2



1
                                        THE PARTIES
2
           1. Ms. Yates is a natural person who residents in Los Angeles, California.
3

4
     She is the inventor and owner of the entire interest of the patent-in-suit.

5          2. Defendant PetSmart is a limited liability company incorporated under the
6    laws of Delaware and with its principal place of business in Phoenix, Arizona.
7    PetSmart was founded over thirty years ago and is the largest pet retailer of
8
     services and products for animals.
9
                               JURISDICTION AND VENUE
10
           3. This action arises under the Patent Laws of the United States, 35 U.S.C. §§
11
     1 et seq.
12

13         4. This Court has federal question jurisdiction under 28 U.S.C. §§ 1331 and
14   1338.
15         5. This Court has personal jurisdiction over Defendant. Defendant conducts
16   business and has committed acts of infringement and has induced acts of patent
17
     infringement by others in this judicial district and has contributed to patent
18
     infringement by others in this district, the State of California, and elsewhere in
19
     the United States.
20

21
           6. Venue is proper in this Court under 28 U.S.C. §§ 1391(b), (c) and 1400(b)

22   in that this is the judicial district in which defendant has committed acts of
23   infringement and has regular and established places of business.
24   ///
25
     ///
26
     ///
27

28                               -2-
     COMPLAINT FOR PATENT INFRINGEMENT                       CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 3 of 11 Page ID #:3



1
                                   BACKGROUND FACTS
2
        7. Ms. Yates conceived of a new animal harness for use in exercise to
3

4
     improve the health of animals while being comfortable to wear, among other

5    benefits. She was a precocious inventor, having invented the subject matter at the
6    age of eleven.
7       8. The invention won Ms. Yates the first-place prize at an invention contest,
8
     with the prize including legal services for drafting and submitting a patent
9
     application for the invention as well as United States Patent and Trademark
10
     Office (USPTO) fees. All USPTO fees were paid by the prosecuting patent
11
     attorney, Mr. Andy Arismendi.
12

13      9. The patent application for Ms. Yates’ invention was filed on March 27,
14   2003 and issued on March 23, 2004 as U.S. Patent Serial No. 6,708,650 (the ‘650
15   Patent). A true and correct copy of the ‘650 Patent is attached as Exhibit A.
16      10.Ms. Yates is the sole and exclusive owner of all right, title, and interest, in
17
     the ‘650 Patent.
18
        11.Due to extraordinary circumstances, including the death of the prosecuting
19
     patent attorney Mr. Arismendi with the attendant breakdown in communication
20

21
     with Ms. Yates, the patent expired in 2008 due to non-payment of maintenance

22   fees. Ms. Yates had no notice and no knowledge of the expiration of the patent
23   from either the USPTO or the prosecuting attorney.
24      12.Around September 10, 2020, Ms. Yates discovered the patent was expired
25
     and petitioned the USPTO to accept unintentionally delayed payment of
26
     maintenance fees in an expired patent. The petition was eventually granted with
27

28                               -3-
     COMPLAINT FOR PATENT INFRINGEMENT                       CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 4 of 11 Page ID #:4



1
     notice mailed on June 25, 2021. The patent is considered as not having expired at
2
     the end of the grace period for the payment of maintenance fees.
3

4

5                                     PETSMART PRODUCTS
6         13.Defendant makes, uses, sells, offers for sale, and/or imports into the United
7    States and this District animal harness products (“Accused Products”) including
8
     the list below:
9

10         Manufacturer            Product                              Product Link
11                                                   https://www.petsmart.com/dog/collars-harnesses-
                             Arcadia Trail™ Stink-   and-leashes/harnesses/arcadia-trailandtrade-stink-
12
      1     Arcadia Trail     Free Dog Harness       free-dog-harness-56553.html
13                           Coastal Pet Products
                               Comfort Wrap          https://www.petsmart.com/dog/collars-harnesses-
14
            Coastal Pet       Personalized Dog       and-leashes/harnesses/coastal-pet-products-
15    2      Products              Harness           comfort-wrap-personalized-dog-harness-8311.html
                                                     https://www.petsmart.com/cat/collars-harnesses-
16
                              Grreat Choice® Cat     and-leashes/harnesses/grreat-choice-cat-harness-
17    3    Grreat Choice           Harness           42030.html
                                                     https://www.petsmart.com/cat/collars-harnesses-
18
                            Grreat Choice® Kitten    and-leashes/harnesses/grreat-choice-kitten-
19    4    Grreat Choice          Harness            harness-42033.html
                                                   https://www.petsmart.com/dog/collars-harnesses-
20
                            Grreat Choice® Step In and-leashes/harnesses/grreat-choice-step-in-
21    5    Grreat Choice    Adjustable Dog Harness adjustable-dog-harness-37072.html
                               Hip Doggie Snow       https://www.petsmart.com/dog/collars-harnesses-
22                             Lepoard Step-In       and-leashes/harnesses/hip-doggie-snow-lepoard-
23
      6      Hip Doggie       Harness and Leash      step-in-harness-and-leash-8419.html
                                                     https://www.petsmart.com/dog/collars-harnesses-
24                           PetSafe® 3-in-1 Dog     and-leashes/training-collars-leashes-and-
      7       PetSafe             Harness            harnesses/petsafe-3-in-1-dog-harness-50883.html
25
                             Top Paw® Gunmetal       https://www.petsmart.com/dog/collars-harnesses-
26                           Core Adjustable Dog     and-leashes/harnesses/top-paw-gunmetal-core-
      8       Top Paw              Harness           adjustable-dog-harness-37612.html
27

28                               -4-
     COMPLAINT FOR PATENT INFRINGEMENT                                CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 5 of 11 Page ID #:5



1                                                https://www.petsmart.com/dog/collars-harnesses-
                             Top Paw® Heart      and-leashes/harnesses/top-paw-heart-adjustable-
2     9        Top Paw    Adjustable Dog Harness dog-harness-37572.html
3                                                https://www.petsmart.com/dog/collars-harnesses-
                           Top Paw® Signature    and-leashes/harnesses/top-paw-signature-dog-
4     10       Top Paw         Dog Harness       harness-52783.html

5                                                https://www.petsmart.com/dog/collars-harnesses-
                             Top Paw® Step-In    and-leashes/harnesses/top-paw-step-in-adjustable-
6     11       Top Paw    Adjustable Dog Harness dog-harness-55322.html

7
                                                    https://www.petsmart.com/dog/collars-harnesses-
                           Top Paw® Travel Dog      and-leashes/harnesses/top-paw-travel-dog-
8     12       Top Paw           Harness            harness-31143.html
                                                    https://www.petsmart.com/dog/collars-harnesses-
9
                               Top Paw® Ultra       and-leashes/harnesses/top-paw-ultra-reflective-
10    13       Top Paw     Reflective Dog Harness   dog-harness-55320.html

11

12                        COUNT ONE FOR INFRINGEMENT OF
13
                                   U.S. PATENT NO. 6,708,650
14
           14.Plaintiff repeats, re-alleges, and incorporates by reference as though fully
15
     set forth herein, the allegations contained in all preceding paragraphs of this
16
     Complaint.
17

18
           15.On March 23, 2004, the ‘650 Patent was duly and legally issued by the

19   USPTO under the title “Method for Installing an Exercising Harness on an
20   Animal.” The ‘650 Patent is referred to as the “Asserted Patent.”
21         16.Ms. Yates is the sole inventor and sole owner of the right, title, and interest
22
     in and to the ‘650 Patent, with the rights to assert all causes of action arising
23
     under the ‘650 Patent and right to collect any remedies for infringement of it. Ms.
24
     Yates is the sole owner of the ‘650 Patent and has been the sole owner since
25
     issuance.
26

27

28                               -5-
     COMPLAINT FOR PATENT INFRINGEMENT                              CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 6 of 11 Page ID #:6



1
        17.On information and belief, Defendant has and continues to directly infringe
2
     either literally or under the doctrine of equivalents, or both, or indirectly infringe
3

4
     at least Claims 1 and 6 by selling, offering to sell, making, using, providing,

5    causing to be used, instructing, directing, and/or requiring others to perform all or
6    some of the steps of the method claims, either literally or under the doctrine of
7    equivalents. Defendant directly or indirectly infringes, literally or under the
8
     doctrine of equivalents by selling, offering to sell, making, using, providing,
9
     causing to be used the thirteen Accused Products and by inducing customers to
10
     perform all or some of the steps of the method claim.
11
        18.On information and belief, the Accused Products have been used to
12

13   infringe and continue to directly infringe or indirectly infringe at least Claims 1
14   and 6 of the ‘650 Patent during the pendency of the ‘650 Patent.
15      19.On information and belief, the Accused Products include each and every
16   element of Claim 6:
17
           A harness for a four-legged animal, the harness comprising:
18
                  a first adjuster;
19
                  a second adjuster;
20

21
                  a strap having a first end loop and a second end loop;

22                a first leg loop; and
23                a second leg loop,
24                wherein the strap extending from the first end loop is
25
                         inserted
26

27

28                               -6-
     COMPLAINT FOR PATENT INFRINGEMENT                        CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 7 of 11 Page ID #:7



1
                          through the first leg adjuster and then back through the first
2
                  leg adjuster forming the first leg loop,
3

4
                          then through the second adjuster and back through the second

5                 adjuster forming the second leg loop, and
6                         then through the first end loop forming a triangular-shaped
7                 opening with the first adjuster, second adjuster and first end loop as
8
                  the apexes for the triangular opening, wherein the triangular opening
9
                  is for the head or the tail of the animal depending if installed on the
10
                  chest of the animal or on the rear end of the animal, respectively.
11
        20.On information and belief, Defendant induces infringement by their
12

13   customers of each and every element of Claim 1:
14         A method of installing a harness on a four-legged animal used to aid in
15      training and exercising the animal and to aid in urging the animal from a
16      sitting position to an upright position, wherein the animal has a rear back, a
17
        rear end, a left rear leg, a left rear leg pit, a right rear leg and a right rear leg
18
        pit, harness comprises:
19
               a first loop,
20

21
               a second loop, and

22             a first connecting portion, wherein said first and second loops are
23         connected to the first connecting portion,
24         said method comprising:
25
               placing the first loop substantially around the left rear leg; placing the
26
           second loop substantially around the right rear leg;
27

28                               -7-
     COMPLAINT FOR PATENT INFRINGEMENT                          CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 8 of 11 Page ID #:8



1
               placing the first connecting portion adjacent the rear back such that the
2
           first and second loops are below the left and right hind leg pits,
3

4
           respectively; and

5              attaching the first connecting portion directly or indirectly to a leash,
6          whereby pulling the first connecting portion in a forward direction relative
7          to the animal causes the first and second loops to come into contact with
8
           the left and right rear leg pits and impose pressure thereon urging the
9
           animal to take action to release the pressure by sitting up and or moving
10
           forward.
11
        21.Since at least the time of receiving this Complaint PetSmart has had actual
12

13   notice that it is directly infringing and/or indirectly infringing the ‘650 Patent.
14      22.The Accused Products are used, marketed, provided to, and/or used by or
15   for each of Defendant’s partners, affiliates, subsidiaries, vendors, clients,
16   customers, and/or end users in this District.
17
        23.On information and belief, since at least the time of receiving this
18
     Complaint, PetSmart has induced and continues to induce others to infringe at
19
     least Claim 1 of the ‘650 Patent under 35 U.S.C. § 271(b) with specific intent or
20

21
     willful blindness, by, among other things, actively aiding and abetting others to

22   infringe, including, but not limited to, Defendant’s customers, whose use of the
23   Accused Products constitute direct infringement of at least claim 1 of the ‘650
24   Patent.
25
        24.In particular, Defendant’s actions that aid and abet the infringement of
26
     others, such as their customers, by distributing the Accused Products, providing
27

28                               -8-
     COMPLAINT FOR PATENT INFRINGEMENT                        CASE NO.: 2:21-CV-6205
      Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 9 of 11 Page ID #:9



1
     instructions, materials and/or services related to the Accused Products. On
2
     information and belief, Defendant has engaged in such actions with specific
3

4
     intent to cause infringement or with willful blindness to the resulting

5    infringement, because Defendant has had actual notice of the ‘650 Patent and that
6    its acts were inducing infringement of the ‘650 Patent since at least the time of
7    receiving this Complaint.
8
           25.On information and belief, Defendant’s infringement has been and
9
     continues to be willful.
10
           26.Plaintiff has been harmed by Defendant’s infringing activities.
11
           27.As a result of Defendant’s unlawful activities, Plaintiff has suffered and
12

13   will continue to suffer irreparable harm for which there is no adequate remedy at
14   law. Ms. Yates is actively engaged in licensing the patented technology.
15   Defendant’s continued infringement of the Asserted Patent causes harm to
16   Plaintiff in the form of price erosion, loss of goodwill, damage to reputation, loss
17
     of business opportunities, inadequacy of money damages, and direct and indirect
18
     competition. Monetary damages are insufficient to compensate Plaintiff for these
19
     harms. Accordingly, Plaintiff is entitled to preliminary and/or permanent
20

21
     injunctive relief.

22

23   ///
24
     ///
25

26
     ///

27

28                               -9-
     COMPLAINT FOR PATENT INFRINGEMENT                        CASE NO.: 2:21-CV-6205
     Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 10 of 11 Page ID #:10



1
                                 PRAYER FOR RELIEF
2
     WHEREFORE, Plaintiff Rachel Yates prays for relief as follows:
3

4
        1. For an Order enjoining Defendant, their officers, agents, employees, and

5    those acting in concert or conspiracy with them, temporarily during the pendency
6    of this action and permanently thereafter from infringing, or inducing
7    infringement by others, of the ‘650 Patent;
8
        2. A judgment declaring that Defendant has directly and/or indirectly
9
     infringed one or more claims of the ‘650 Patent in violation of 35 U.S.C. § 271.
10
        3. A judgment, pursuant to 35 U.S.C. § 284, awarding Plaintiff damages
11
     adequate to compensate Plaintiff for Defendant’s infringement of the ‘650 Patent,
12

13   in an amount to be determined at trial, but in no event less than a reasonable
14   royalty.
15      4. An order, pursuant to 35 U.S.C. § 284, finding that Defendant’s
16   infringement has been willful and deliberate and awarding to Plaintiff up to treble
17
     damages;
18
        5. A judgment, pursuant to 35 U.S.C. § 284, awarding Plaintiff interest on the
19
     damages and its costs incurred in this action;
20

21
        6. An award of pre-judgment and post-judgment interest and costs to Plaintiff

22   pursuant to 35 U.S.C. § 284.
23      7. An order, pursuant to 35 U.S.C. § 285, finding that this is an exceptional
24   case and awarding to Plaintiff its reasonable attorneys’ fees incurred in this
25
     action; and
26
        8. For other such relief as the court deems just and proper.
27

28                              -10-
     COMPLAINT FOR PATENT INFRINGEMENT                      CASE NO.: 2:21-CV-6205
     Case 2:21-cv-06205-MRW Document 1 Filed 07/31/21 Page 11 of 11 Page ID #:11



1
                                      JURY DEMAND
2
        Plaintiff demands a trial by jury on all issues triable as such.
3

4
                                             Respectfully Submitted,
5

6    Dated: July 31, 2021                    ZHEN LAW FIRM
7
                                             By: /s/ Chris J. Zhen                  _
8                                            Chris J. Zhen (State Bar No. 275575)
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13                                           Attorneys for Plaintiff Rachel Yates
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     COMPLAINT FOR PATENT INFRINGEMENT                       CASE NO.: 2:21-CV-6205
